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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                          6/17/22

    United States of America,

                   –v–
                                                                              20-CR-330 (AJN)
    Ghislaine Maxwell,
                                                                                   ORDER
                            Defendant.


ALISON J. NATHAN, Circuit Judge, sitting by designation:

         As noted in this Court’s prior order, sentencing in this matter is scheduled for June 28,

2022, at 11:00 a.m. Dkt. No. 577. The sentencing proceeding will take place in Courtroom 318

of the Thurgood Marshall United States Courthouse, 40 Centre Street, New York, New York.

         Substantial seating for members of the press and public will be available in Courtroom

318. Overflow courtrooms will be available if needed. The overflow rooms will have live video

and audio feeds of the proceeding. The use of any electronic devices in Courtroom 318 or the

overflow courtrooms is prohibited. The District Executive’s Office will coordinate seating in

Courtroom 318 and the overflow courtrooms. 1

         The Court will ensure access for any victims. Victim access will be coordinated between

the Victim Witness Unit and the District Executive’s Office. Defense counsel may coordinate

access for members of the Defendant’s family with the District Executive’s Office.

         Wendy Olson, Coordinator                                Joseph Pecorino
         Victim Witness Unit                                     District Executive’s Office
         United States Attorney’s Office                         United States District Court
         (212) 637-1028                                          Southern District of New York

1
 Since November 1, 2021, and in accordance with federal law, the Court of the Southern District of New York has
not permitted telephone dial-in access for criminal proceedings that are taking place in court. See
https://nysd.uscourts.gov/sites/default/files/2021-11/Memo%20re%20Telephone%20Access%20for%20Crim
%2011.3.pdf.

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       Wendy.Olson@usdoj.gov                          (212) 805-0513
                                                      Joseph_Pecorino@nysd.uscourts.gov

       For information on Courthouse entry protocols, please see

https://www.nysd.uscourts.gov/covid-19-coronavirus.

       SO ORDERED.



 Dated: June 17, 2022
        New York, New York                     ____________________________________
                                                         ALISON J. NATHAN
                                                       United States Circuit Judge
                                                         Sitting by Designation




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